Case 2:21-cv-04920-WLH-ADS      Document 16-1   Filed 06/21/21   Page 1 of 3 Page ID
                                      #:238



                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

             SERENA FLEITES et al. v. MINDGEEK S.A.R.L. et al.
                         Case No. 2:21-cv-4920

                           ATTACHMENT 1 TO SUMMONS

 SERENA FLEITES and JANE DOE
 NOS. 1 through 33,
                  Plaintiffs,
            v.

 MINDGEEK S.A.R.L. a foreign entity;
 MG FREESITES, LTD., a foreign
 entity; MINDGEEK USA
 INCORPORATED, a Delaware
 corporation; MG PREMIUM LTD, a
 foreign entity; RK HOLDINGS USA
 INC., a Florida corporation, MG
 GLOBAL ENTERTAINMENT INC., a
 Delaware corporation,
 TRAFFICJUNKY INC., a foreign
 entity; BERND BERGMAIR, a foreign
 individual; FERAS ANTOON, a
 foreign individual; DAVID
 TASSILLO, a foreign individual;
 COREY URMAN, a foreign individual;
 VISA INC., a Delaware corporation;
 COLBECK CAPITAL DOES 1-10; and
 BERGMAIR DOES 1-10

                 Defendants.
Case 2:21-cv-04920-WLH-ADS     Document 16-1   Filed 06/21/21   Page 2 of 3 Page ID
                                     #:239



                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA

             SERENA FLEITES et al. v. MINDGEEK S.A.R.L. et al.
                         Case No. 2:21-cv-4920

                        ATTACHMENT 2 TO SUMMONS

                         DEFENDANTS TO BE SERVED

  MINDGEEK S.A.R.L.
  32 Boulevard Royal
  L - 2449 Luxembourg City, Luxembourg

  MG FREESITES LTD. (D/B/A PORNHUB)
  195-197 Old Nicosia-Limassol Road
  Block 1 Dali Industrial Zone
  Cyprus, 2540

  MINDGEEK USA INCORPORATED
  21800 Oxnard Street, Suite 150
  Woodland Hills, CA 91367

  c/o CT Corporation System
  818 West 7th Street, Suite 930
  Los Angeles, CA 90017

  MG PREMIUM LTD.
  195-197 Old Nicosia-Liamassol Road
  Block 1 Dali Industrial Zone,
  Cyprus, 2540

  RK HOLDINGS USA INC.
  1094 South Ocean Boulevard
  Palm Beach, FL 33480

  MG GLOBAL ENTERTAINMENT INC.
  21800 Oxnard Street, Suite 150
  Woodland Hills, CA, 91367-7909



                                        2
Case 2:21-cv-04920-WLH-ADS    Document 16-1   Filed 06/21/21   Page 3 of 3 Page ID
                                    #:240



  TRAFFICJUNKY INC.
  7777, Decarie Boulevard, Office 600
  Montreal, Quebec, H4P 2H2

  FERAS ANTOON
  Rue du Baron Louis Empain
  Sainte-Marguerite-du-Lac-Masson
  Quebec, Canada
  2XQ7+9H

  DAVID TASSILLO
  342 Rue Des Anemones
  Laval, QC H7X 0C1, Canada

  COREY URMAN
  201-4250 Rue Saint-Ambroise
  Montréal, Québec, Canada
  H4C3R4

  BERND BERGMAIR
  70/F The Harbour View Place
  APT, 1 Austin Road West
  Hong Kong

  VISA INC.
  P.O. Box 8999
  San Francisco, California 94128

  COLBECK CAPITAL DOES 1-10

  BERGMAIR DOES 1-10




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